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 1   ZAITSU LAW
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 5   Attorney for Defendant
 6   PATRICIA SHIRLEY

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          Case No.: 2:18-CR-00004 DB

11                                 Plaintiff,           STIPULATION AND ORDER
            v.                                          CONTINUING STATUS CONFERENCE
12                                                      AND EXCLUDING TIME UNDER THE
13   ROSEMARY CHANNEL, BOBBIE JEAN                      SPEEDY TRIAL ACT

14   SANFORD, PATRICIA SHIRLEY,                         Date: August 7, 2018
                                                        Time: 10:00am
15                                 Defendants.
                                                        Court: Hon. Deborah Barnes
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            This matter involving a charged conspiracy and theft of government property is presently
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     set for a status conference on August 7, 2018. The government has provided voluminous
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     discovery consisting of more than 3,600 pages and numerous CDs containing at least three
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     months of surveillance footage and audio recordings of numerous witnesses and defendant
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     interviews. Defense counsel are in the continuing process of reviewing discovery, conducting
23
     various investigations, and interviewing witnesses.
24
            The parties to the actions, Plaintiff United States of America by and through Assistant
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     United States Attorney Eric Chang, Assistant Federal Defender Linda Allison on behalf of
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     Defendant Rosemary Channel, Attorney Kelly Babineau on behalf of Defendant Bobbie Sanford,
27
     and Attorney Etan Zaitsu on behalf of Defendant Patricia Shirley stipulate as follows:
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 1          1.      By this stipulation, Defendants now move to vacate the status conference
 2   presently set for August 7, 2018. The parties request to continue the status conference to October
 3   23, 2018, at 10:00 a.m., and to exclude time between August 7, 2018 and October 23, 2018,
 4   inclusive, under Local Code T-4. The United States does not oppose this request.
 5          2.      Due to the volume of discovery in the case, defense counsel for all defendants are
 6   engaged in ongoing review of the discovery and defense investigation related to potential
 7   defenses in this matter. This investigation is necessary to ensure that potential defenses are
 8   explored and discussed with each defendant in the case.
 9          3.      All defense counsel represent and believe that failure to grant additional time as
10   requested would deny each of them the reasonable time necessary for effective preparation,
11   taking into account the exercise of due diligence.
12          4.      Based on the above-stated facts, the parties jointly request that the Court find that
13   the ends of justice served by continuing the case as requested outweigh the best interest of the
14   public and the Defendants in a trial within the time prescribed by the Speedy Trial Act.
15          5.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
16   et seq., within which trial must commence, the time period of August 7, 2018 to October 23,
17   2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B) (iv) [Local
18   Code T-4] because it results from a continuance granted by the Court at Defendants’ request on
19   the basis that the ends of justice served by taking such action outweigh the best interest of the
20   public and the Defendants in a speedy trial.
21          6.      Nothing in this stipulation and order shall preclude a finding that other provisions
22   of the Speedy Trial Act dictate that additional time periods are excludable from the period within
23   which a trial must commence.
24          Assistant U.S. Attorney Eric Chang and all defense counsel have reviewed this proposed
25   order and authorized Etan Zaitsu to sign it via email on their behalf.
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                                                           Respectfully submitted,
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 1   Dated: August 1, 2018                     /s/ Etan Zaitsu for_______
                                               ERIC CHANG
 2                                             Assistant United States Attorney
 3
 4   Dated: August 1, 2018                     /s/ Etan Zaitsu for_______
                                               LINDA ALLISON
 5                                             Attorney for Defendant
 6                                             ROSEMARY CHANNEL

 7
     Dated: August 1, 18, 2018                 /s/ Etan Zaitsu for_______
 8
                                               KELLY BABINEAU
 9                                             Attorney for Defendant
                                               BOBBIE SANFORD
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11
     Dated: August 1, 2018                     /s/ Etan Zaitsu _______
12                                             ETAN ZAITSU
                                               Attorney for Defendant
13                                             PATRICIA SHIRLEY
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 1                                              ORDER
 2          BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it
 3   is hereby ordered that the status conference in this matter, scheduled for August 7, 2018, is
 4   vacated. A new status conference is scheduled for October 23, 2018, at 10:00 a.m. The Court
 5   further finds, based on the representations of the parties and Defendants’ request, that the ends
 6   of justice served by granting the continuance outweigh the best interests of the public and the
 7   defendants in a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 8   3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
 9   consideration the exercise of due diligence for the period from August 7, 2018, up to and
10   including October 23, 2018.
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12          IT IS SO ORDERED.
13   Dated: August 6, 2018
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     Order Continuing Status Conference
